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 and Third Party Defendant Cordialsa USA, Inc.


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.,

                  Plaintiff/Counter Defendant,

         vs.

  LATINFOOD U.S. CORP. d/b/a ZENÚ                             Civil Action
  PRODUCTS CO. and WILSON ZULUAGA,
                                                              Case No. 2:16-cv-06576-KM-MAH
               Defendants/Counter Claimants/
                       Third Party Plaintiffs,
         vs.

  CORDIALSA USA, INC.,

                       Third Party Defendant.


         ORDER FOR THE PRO HAC VICE ADMISSION OF EVAN WEINTRAUB

        THIS MATTER having come before the Court on motion by the applicant, Jason Libou, of

 the law firm Wachtel Missry LLP, attorneys of record in the above-captioned matter for Plaintiff

 Industria de Alimentos Zenú S.A.S. and Third Party Defendant Cordialsa USA, Inc., for an order

 admitting counsel, Evan Weintraub, pro hac vice pursuant to Local Civil Rule 101.1(c);
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        and the Court having considered the submissions in support of the application [D.E. 285],

 which reflect counsel’s satisfaction of the requirements set forth in L. Civ. R. 101.1(c)(1);

        and there being no objection to this motion;

        and for good cause shown;
                      18th day of ____________,
        IT IS ON THIS ____         April        2023,

        ORDERED that the application [D.E. 285] for admission of Evan Weintraub as counsel pro

 hac vice is GRANTED; and it is further

        ORDERED that Evan Weintraub be and hereby is admitted to the bar of this Court pursuant

 to Local Civil Rule 101.1(c) as counsel pro hac vice for Plaintiff Industria de Alimentos Zenú S.A.S.

 and Third Party Defendant Cordialsa USA, Inc.; and it is further

        ORDERED that Evan Weintraub shall pay $150.00 to the Clerk of the United States District

 Court for the District of New Jersey in accordance with L. Civ. R. 101.1(c)(3); and it is further

        ORDERED that Evan Weintraub shall make payment to the New Jersey Lawyers’ Fund for

 Client Protection as provided by New Jersey Court Rule 1:28-2(a), for this year and each year in

 which counsel continues representation of Movants before this Court; and it is further

        ORDERED that Evan Weintraub be and hereby is bound by the Local Civil Rules of this

 Court, including all disciplinary rules, and shall promptly notify the Court of any matter affecting

 counsel’s standing in the bar of any other court; and it is finally

        ORDERED that the applicant, Jason Libou, shall: (i) be attorney of record in this case in

 accordance with L. Civ. R. 101.1(c)(4); (ii) be served all papers in this action and such service shall

 be deemed sufficient service upon counsel; (iii) sign (or arrange for a member of the firm admitted

 to practice in New Jersey to sign) all pleadings, briefs, and other papers submitted to this Court; and

 (iv) be responsible for the conduct of the cause and counsel in this matter.


                                                          s/ Michael A. Hammer
                                                        ___________________________________
                                                        UNITED STATES MAGISTRATE JUDGE

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